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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 TRAVELERS INDEMNITY COMPANY,
 Plaintiff,

 v.                                                              Case No. 19–CV–01063–JPG

 CONCURE SYSTEMS, LLC,
 Defendant.


                                        JUDGMENT

       This matter having come before the Court, and Plaintiff Travelers Indemnity Company

having dismissed the Complaint with prejudice,

       IT IS HEREBY ORDERED AND ADJUDGED that the claims against Defendant

Concure Systems, LLC are DISMISSED WITH PREJUDICE.



Dated: Friday, October 30, 2020                  MARGARET M. ROBERTIE
                                                 CLERK OF COURT

                                                 s/Tina Gray, Deputy Clerk

Approved by: s/J. Phil Gilbert
            J. PHIL GILBERT
            UNITED STATES DISTRICT JUDGE
